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14                               UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA
16                                    SAN FRANCISCO DIVISION
17
     In re: CATHODE RAY TUBE (CRT) ANTITRUST                 Case No. 07-cv-5944 (JST)
18   LITIGATION
                                                             MDL No. 1917
19   This Document Relates to:
                                                             PLAINTIFFS’ MOTION TO
20                                                           ESTABLISH A TRANSLATION-
     CompuCom Systems, Inc. v. Hitachi, Ltd., et al. No.
     2:11-cv-06396;                                          OBJECTION RESOLUTION
21
                                                             PROTOCOL
22   Costco Wholesale Corp. v. Hitachi, Ltd, et al.,
     Case No. 11-cv-06397;
23
     Costco Wholesale Corporation v.
24
     Technicolor SA, et al., No. 13-cv-05723;
25
     Dell Inc., et al. v. Phillips Electronics North
26   America Corporation, et al., No. 13-cv-02171;
27   Electrograph Systems, Inc., et al. v. Hitachi,
28   Ltd., et al., No. 3:11-cv-01656;

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 1
     Electrograph Systems, Inc., et al. v.
 2   Technicolor SA, et al., No. 13-cv-05724;
 3
     Interbond Corp. of Am. v. Hitachi, Ltd. et al.,
 4   No. 3:11-cv-06275;

 5   Interbond Corp. of Am. v. Technicolor SA,
     et al., No. 13-cv-05727;
 6

 7   Office Depot, Inc. v. Hitachi, Ltd. et al., No.
     3:11-cv-06276;
 8
     Office Depot, Inc. v. Technicolor SA, et al.,
 9   No. 13-cv-05726;
10
     P.C. Richard & Son Long Island Corp., et al., v.
11   Hitachi, Ltd., et al., No. 3:12-cv-02648;

12   P.C. Richard & Son Long Island Corporation, et al.
     v. Technicolor SA, et al., No. 13-cv-05725;
13
     Schultze Agency Services, LLC v. Hitachi, Ltd., et
14
     al., No. 3:12-cv-2649;
15
     Schultze Agency Services, LLC v. Technicolor SA,
16   Ltd., et al., No. 13-cv-05668;
17   Sears, Roebuck and Co., et al. v. Technicolor SA,
     No. 13-cv-05262;
18

19   Sharp Elec. Corp. v. Hitachi, Ltd., et al. No. 3:13-
     cv-01173;
20
     Sharp Elec. Corp., et al. v. Koninklijke Philips
21   Electronics N.V., et al., No. 13-cv-2776;
22
     Target Corp. v. Technicolor SA, et al., No. 13-cv-
23   05686;

24   Tech Data Corp., et al. v. Hitachi, Ltd., et al.,
     No.13-cv-00157; and
25

26   ViewSonic Corporation v. Chunghwa
     Picture Tubes Ltd., et al., No.13-cv-02510.
27

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 1                                          Preliminary Statement

 2                  As the Court is aware, this multidistrict litigation concerns an alleged international

 3   cartel to fix and stabilize prices for products manufactured in numerous countries across the

 4   globe. Accordingly, many of the relevant documents to be used at trial are in a foreign

 5   language—in particular, Japanese, Korean, and Chinese.

 6                  Early on in the litigation, the Court issued an Order re Discovery and Case

 7   Management Protocol (“Case Management Order”), which includes provisions for the use of

 8   translated foreign-language documents and for objecting to those translations. (Dkt. No. 1128

 9   at 18.) This process provided rules for offering certified translations of documents, and time

10   periods for any party to object to the translation. (Id.) It contemplated that the parties would then

11   seek to resolve any disputes about translations through meet and confers, but did not specify a

12   mechanism for final resolution of any objections. Rather, it stated that, if required, the parties

13   could seek a final resolution from the Special Master—or the Court if raised in connection with a

14   dispositive motion. (Id.) Throughout the life of the case, the parties have resolved numerous

15   translation objections by meeting and conferring. A very substantial number, however, remain

16   unresolved. For instance, at least forty translations have gone through four rounds of competing

17   translations without the objections having been resolved. Despite Plaintiffs’ efforts to resolve

18   objections in a timely manner, Defendants have failed to respond in any meaningful way to many

19   of the outstanding objections, or to offer reasonable compromise positions. Although the parties

20   will continue to meet and confer regarding those objections, and hope to make considerable

21   progress, there will certainly remain some disputes that the parties cannot resolve. Plaintiffs thus

22   believe that it is advisable now to create a mechanism for resolving such disputes—particularly as

23   the parties prepare for trial, the first of which is to occur in September of this year. Plaintiffs have

24   conferred with Defendants about creating such a process for resolving the disputes, but the parties

25   have been unable to agree on either a mechanism or the timing for creating such a process.

26                  Plaintiffs believe that the Case Management Order already gives the Special

27   Master authority to resolve outstanding disputes but Defendants contest this conclusion. It would

28   be inefficient for us to ask the Special Master to issue orders resolving translation disputes only to
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 1   have the Defendants appeal such orders to the Court on the threshold issue that the Case

 2   Management Order did not refer such matters to the Special Master in the first instance.

 3   Accordingly, the undersigned Plaintiffs seek an order: (i) confirming or newly ordering that the

 4   Court refers to the Special Master resolution of translation disputes with respect to documents

 5   that the parties reasonably anticipate may be used at trial, and (ii) asking the Special Master

 6   promptly to establish a protocol for resolution of such disputes. The contours of a proposed

 7   protocol that the Special Master may wish to adopt are set forth below.

 8                  In the first instance, Plaintiffs would plan to submit approximately fifty documents

 9   with disputed translations to the Special Master for resolution. We hope that the guidance

10   provided by resolution of these disputed translations will facilitate resolution of additional

11   outstanding disputes through the meet and confer process.

12                                           Factual Background

13          Plaintiffs began using certified translations in this matter in January 2012. Thereafter, the

14   parties began exchanging objections to those certified translations, and responses to those

15   objections. Through that process, the parties were able to resolve many objections. But many

16   other objections remain unresolved and Defendants have prevented progress.

17          On November 17, 2015, Plaintiffs proposed to Defendants that the parties establish a

18   process to resolve objections to translations. (Declaration of Craig A. Benson, Ex. A.)

19   Defendants also proposed a method for narrowing the universe of disputed translations from the

20   thousands that currently exist to a smaller number relating to only documents most likely to be

21   used at trial. Plaintiffs also proposed that unresolved disputes eventually would be brought to the

22   Special Master, for his resolution aided by neutral third-party translators. (Id. at 3-4.)

23                  The parties have since conferred and corresponded numerous times on the issue

24   but have been unable to reach agreement. Candidly, it does not appear that Defendants have any

25   interest in resolving these disputes before trial. For example:

26             Defendants first took the position that Plaintiffs’ proposal to create a system involving

27              the Special Master and neutral translators to resolve disputes was “premature” because

28              there was no trial date. (Benson Decl., Ex. B.) Defendants proposed, instead,
                                                    2
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 1              delaying resolution of objections until just “several weeks prior to the trial date . . . .”

 2              (Id.) Plaintiffs did not agree, because it is not possible to adequately prepare for trial

 3              so long as the meaning of a large number of documents to be used is not resolved.

 4             Defendants next proposed that, instead of submitting disputes to the Special Master for

 5              resolution with a translator’s assistance well in advance of trial, the unresolved

 6              translation disputes should be “offered as an evidentiary objection to the document,

 7              along with any other evidentiary objections, and [ ] submitted to the Court for

 8              resolution” during the trial. (Benson Decl., Ex. C.) Once again, this would not permit

 9              the parties to prepare adequately for trial and would waste the time of the Court and

10              the jury during the actual trial. (Benson Decl., Ex. D.)

11             Defendants next argued that the process for resolving translation disputes should not

12              involve the Special Master at all because the translations were for use at trial. (Benson

13              Decl., Ex. E.) Plaintiffs disagree and believe that Defendants’ position is inconsistent

14              with the Case Management Order. Plaintiffs reiterated to Defendants that it was

15              necessary to establish a protocol by which objections could be finally resolved.

16              (Benson Decl., Ex. F.)

17                  Following a further exchange of correspondence and a telephonic meet-and-

18   confer, Plaintiffs asked Defendants to agree by March 15 that: (1) the Court ask Special Master

19   Walker to promulgate a protocol for submitting contested translations to the Special Master for

20   resolution; (2) the protocol should include appointment of independent translator(s); (3) the

21   protocol should include a process whereby independent translators are vetted with the parties so

22   that they may object if they have good cause to believe the translators would not be impartial; (4)

23   the protocol should include details on the format of submissions, and response or reply rights, if

24   any; (5) the protocol should include a recommended method for allocating costs for resolution of

25   objections and certification of new translations; and (6) the protocol should be created as

26   promptly as possible, to permit resolution of disputes sufficiently before trial so as to permit the

27   parties meaningfully to prepare the final pretrial order (including deposition designations and

28   exhibit lists) and for trial. (Benson Decl., Ex. G.) Defendants did not agree to the request.
                                                       3
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 1                                                Argument

 2                  Courts have broad discretion in discharging their duties to expedite disposition of

 3   matters, to discourage wasteful pretrial activities, and to improve the quality of trial through more

 4   thorough preparation. See Fed. R. Civ. P. 16(a). Among other things, they may appoint Special

 5   Masters to handle matters that cannot be addressed effectively and timely by an available district

 6   court judge or magistrate judge. See Fed. R. Civ. P. 53(a)(1)(c). “Special Masters have

 7   increasingly been appointed for their expertise in particular fields, such as accounting, finance,

 8   science, and technology.” Manual for Complex Litigation (Fourth) § 11.52, at 115 (2004).

 9                  In the Case Management Order entered in this litigation in 2012, the Court ordered

10   a procedure for certifying translations of documents to be used in the litigation, and for objecting

11   to those translations. (Dkt. No. 1128 at 18.) That Order indicated that if parties were unable to

12   resolve disputes, they “shall be submitted to the Special Master, or by the Court if raised in

13   connection with a dispositive motion.” (Id.) It did not lay out any special mechanism or process

14   for submitting those disputes.

15                  Plaintiffs believe that promptly creating an adjudication process that involves

16   Special Master Walker working with third-party neutral translators will facilitate the efficient

17   resolution of outstanding objections for at least two reasons. Not only will the availability of the

18   adjudication process give the parties a way ultimately to resolve the disputes—where they are

19   truly at an impasse because of materially differing interpretations of language—but Plaintiffs

20   believe it will also curb strategic behavior (designed to cause delay or to encourage “horse-

21   trading”) that may be preventing the parties from making progress now.

22                  Plaintiffs believe that Special Master Walker is well-positioned to oversee the

23   adjudication of these translation disputes, particularly given the outstanding number of pretrial

24   motions relating to summary judgment, Daubert, and in limine issues that are presently before the

25   Court. Special Master Walker also has developed a sophisticated understanding of the facts

26   underlying the cases. He does not, however, have the foreign language expertise necessary to

27   resolve disputes on his own, and thus Plaintiffs respectfully request that the Special Master be

28   aided by neutral third-party translators, to advise on the competing translations submitted by
                                                       4
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 1   either Plaintiffs or Defendants. Beyond these requests, Plaintiffs defer to the judgment of the

 2   Court or the Special Master regarding how best to establish a structure for the review mechanism.

 3                   Defendants have consistently referred back to a procedure used in In re TFT-LCD

 4   Antitrust Litigation as a model for resolving translation issues, which involved preserving all

 5   objections to be resolved in lengthy meet-and-confer sessions close to trial. Plaintiffs who

 6   operated under that procedure found it costly and wasteful, inefficient and unworkable. The

 7   exercise involved expending significant resources immediately before trial, and, by trial, key

 8   translation objections still were not resolved, or, at the least, the parties could not agree on

 9   whether or how the objections had been resolved.

10                   Accordingly, Plaintiffs respectfully request that:

11                   1.      The Court ask Special Master Walker to promulgate a protocol for

12   submitting contested translations to the Special Master for resolution (soliciting input from the

13   parties on designing that protocol at his option);

14                   2.      The protocol should include appointment of independent translators to

15   advise the Special Master;

16                   3.      The protocol should include a process whereby, before independent

17   translators begin work, their names are vetted to the parties so that parties may object if they have

18   good cause to believe the translators would not be impartial;

19                   4.      The protocol should include details on the format of submissions (e.g.,

20   joint or separate, page or content requirements and limits), and response or reply rights, if any;

21                   5.      The protocol should include a recommended method for allocating costs

22   for resolution of objections and certification of new translations; and

23                   6.      The protocol should be created as promptly as possible, to permit

24   resolution of disputes sufficiently before trial so as to permit the parties meaningfully to prepare

25   for trial.

26                                                Conclusion

27                   For the reasons stated above, Plaintiffs respectfully request that the Court issue the

28   attached Proposed Order.
                                                          5
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 1                                      E-FILING ATTESTATION

 2                  I, Craig A. Benson, am the ECF user whose ID and password are being used to file

 3   Plaintiffs’ Motion To Establish A Translation-Objection Resolution Protocol. In compliance with

 4   Civil Local Rule 5-1(i)(3), I hereby attest that each listed counsel above has concurred in this

 5   filing.

 6

 7   Dated: March 17, 2016                         /s/ Craig A. Benson

 8                                                   Craig A. Benson

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